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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


   EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
                Plaintiff, Counter-defendant,
                     v.
   APPLE INC.,                                        RESPONSE TO APPLE’S OBJECTIONS
                    Defendant, Counterclaimant.       TO SPECIAL MASTER RULINGS ON
                                                      APPLE INC.’S PRODUCTIONS OF RE-
                                                      REVIEWED PRIVILEGED
                                                      DOCUMENTS


The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
         Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
 Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
 short response to Apple’s Objections to the Special Masters’ rulings (“Objections”), filed
 on March 10, 2025. (Dkt. 1335.) Epic does not have access to the underlying documents
 and is therefore unable to fully assess the bases on which Apple claims privilege; Epic
 responds to Apple’s Objections on the limited information provided in Apple’s privilege
 logs for the documents.
  ●    Entry No. 1540 (PRIV-APL-EG_00085160)—Apple claims in its Objections that this
       is a Quip document addressing Apple’s “new customer management and refund
       capabilities”. (Dkt. 1335 at 2.) Apple reports that its redactions cover several
       exchanges between Patricia Huynh (in-house counsel) and unnamed non-lawyers in
       which “Ms. Huynh seeks information from [the] non-lawyers regarding various
       aspects of the planned changes”. Id. Apple’s privilege log, however, does not
       mention Ms. Huynh or claim any privilege over her communications. Rather, the
       privilege log only mentions attorney Ling Lew, but in its Objections, Apple appears to
       have waived any claim that Ms. Lew’s communications are privileged (or that they are
       even reflected in the redacted document). That discrepancy is sufficient to overrule
       Apple’s objection here. But even setting aside the fact that Apple is basing its
       objection on a privilege claim that is entirely different from the one it presented to the
       Special Master, the Special Master did review the entire document and determined that
       the redactions Apple proposed pertained to exchanges that are not privileged because
       their “predominant purpose is business or technical; not legal advice”. (Exhibit A to
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     Apple Objections, Dkt. 1335-1, at Entry No. 1540.) Apple fails to explain how or why
     that specific finding is erroneous. Accordingly, Apple has not provided any
     compelling reason to overturn the Special Master’s rejection of its privilege claim.
●    Entry No. 561 (PRIV-APL-EG_00154061)—Apple maintains that this document is an
     email chain discussing “updates to certain draft developer communications in advance
     of the launch of the U.S. entitlement program”. (Dkt. 1335 at 3.) Apple states that it
     has only redacted several exchanges between in-house counsel Ling Lew and non-
     lawyers—presumably the communications professionals identified in the associated
     privilege log entry—Marni Goldberg, Fred Sainz, and Peter Ajemian. Id. In these
     exchanges, Ms. Lew reportedly “describes the changes she made to the Apple
     developer support page” and “shares a revision to a draft developer communication
     based on the result of a then-recent court decision”. Id. The Special Master reviewed
     the document and determined that Ms. Lew’s communications did not convey legal
     advice and thus were not privileged. (Id.; Entry No. 561.) Epic does not have access
     to these communications and is thus unable to assess Apple’s claims disputing that
     determination.
●    Entry No. 753 (PRIV-APL-EG_00155569)—Apple represents that this document is
     “an email chain containing draft talking points related to Apple’s participation in a
     European press tour” addressing the Digital Markets Act. (Dkt. 1335 at 4.) Apple
     claims privilege based on the “feedback from [in-house] lawyers Gary Davis and
     Brendan McNamara” incorporated into the draft talking points, and seeks to withhold
     the document in its entirety. Id. But Apple’s objection here seems to repeat an
     argument it has made and that this Court has rejected multiple times, namely that
     business documents are privileged just because lawyers have commented on them at
     some point in time, and that those attorney comments, while not facially discernable,
     were incorporated into the document. As this Court noted before, unless the document
     discloses the contents of legal advice, the document is not privileged. (Dkt. 1056 at 1-
     2.) Apple has not provided any persuasive reason to overrule the Special Master’s
     determination that this document is not privileged.
●    Entry No. 755 (PRIV-APL-EG_00155579)—Apple claims this document is an email
     chain “discussing different compliance issues related to Korea”. (Dkt. 1335 at 5.)
     Apple reportedly has redacted a conversation between Sean Cameron, in-house
     counsel, and Phil Schiller, a business executive, discussing “Apple’s legal strategy
     with a foreign regulatory body”. Id. Apple also seeks to redact “a response by non-
     lawyer Ann Thai that is explicitly based on and incorporating Mr. Cameron’s advice.”
     Id. The Special Master reviewed the document and concluded that these
     communications do not reflect legal advice. Epic does not have access to the
     document and thus cannot fully evaluate Apple’s objection to the Special Master’s
     determination.
●    Entry Nos. 10511 (PRIV-APL-EG_00251372), 10512 (PRIV-APL-EG_00251386),
     and 10444 (PRIV-APL-EG_00250684)— Apple represents in its Objections that
     Entry Nos. 10511 and 10512 are Word and PDF versions of the “Alternative Terms
     Addendum for Apps in the EU”. In its Objections, Apple claims the document was
     drafted by unnamed attorneys and then revised by Ling Lew, in-house counsel. (Dkt.
     1335 at 6.) Again, Apple’s objection here does not suggest that the document
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   discloses the content of any legal advice, and the privilege log does not identify the
   lawyer who purportedly drafted the document nor identify Ms. Lew as an attorney
   involved with the document in any way. To the contrary, the privilege log
   acknowledges that no attorneys are listed on the document. The Special Master
   rejected Apple’s attempt to withhold this document in its entirety, observing that the
   document was “predominantly business” and thus not appropriate for complete
   withholding as privileged. (Entry Nos. 10511 and 10512.) Apple has not provided
   any compelling reason to overturn this ruling.
   Similarly, Apple claims that Entry No. 10444 is an attorney-drafted addendum to the
   Developer Program License Agreement entitled “External Link Account Entitlement
   Addendum for Reader Apps.” (Dkt. 1335 at 6.) But Apple’s privilege log does not
   mention that the document was prepared by an attorney, and does not identify any
   attorney involved in its preparation. Moreover, in support of its Objections, Apple
   cites authorities discussing the attorney-client privilege, but Apple did not assert that
   the document is privileged; rather, it only asserted work product protection in its
   privilege log entry, a fact elided in Apple’s Objections. Id. The Special Master
   rejected Apple’s attempt to withhold this document in its entirety, and nothing in
   Apple’s Objections suggests this was error.


DATED: March 12, 2025                            CRAVATH, SWAINE & MOORE LLP
                                                 By: /s/ Yonatan Even
                                                 Counsel for Plaintiff Epic Games, Inc.
